                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                            No. 3:20-CV-00710-FDW-DSC


 HAYWARD INDUSTRIES, INC.,

                        Plaintiff,

                v.

 BLUEWORKS CORPORATION,
 BLUEWORKS INNOVATION
 CORPORATION, NINGBO C.F.
 ELECTRONIC TECH CO., LTD; NINGBO
 YISHANG IMPORT AND EXPORT CO.,
 LTD.

                        Defendants.


  DECLARATION OF ERIK PAUL BELT IN SUPPORT OF PLAINTIFF HAYWARD
        INDUSTRIES INC.’S MOTION FOR ALTERNATIVE SERVICE

        I, Erik Paul Belt, a partner with McCarter & English, LLP, declare as follows:

        1.     I am a partner at the law firm McCarter & English, LLP and represent Plaintiff

Hayward Industries, Inc. (“Hayward”), in this action. I make this declaration to support Hayward’s

motion for alternative service via electronic means on foreign Defendants Ningbo C.F. Electronic

Tech Co., Ltd and Ningbo Yishang Import and Export Co., Ltd (collectively “Ningbo”).

        2.     Hayward alleges that Ningbo and other defendants (Blueworks Corporation and

Blueworks Innovation Corporation) have infringed Hayward’s federally-registered trademarks and

have also committed false advertising, unfair competition, false designation of origin, and various

other violations of the Lanham Act, as well as related violations of applicable state and common

law.




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       3.      Based on my investigation before filing the complaint, all of the defendants in this

action appear to be connected and act in concert and are controlled by the same person or persons—

namely, Richard Chen and/or Sun Haoqi.

       4.      On May 12, 2020, I, on behalf of Hayward, sent a cease and desist letter to

Blueworks demanding that it stop selling products that infringe Hayward’s trademarks and other

intellectual property rights. A true and accurate copy of that cease and desist letter and tracking

information is attached as Exhibit A. Although the letter was successfully delivered via FedEx,

neither Blueworks nor any person or company associated with Blueworks responded to me or to

Hayward.

       5.      Over a month later, on June 25, 2020, Hayward and I had still not heard from

Blueworks. I thus sent a follow-up letter reiterating Hayward’s demand that Blueworks stop its

infringing conduct and to contact me. To date, I have not received a response, and I am not aware

of any response made directly to Hayward or to other lawyers representing Hayward. A true and

accurate copy of the follow up letter and tracking information is attached as Exhibit B.

       6.      Blueworks and Ningbo continue to advertise and sell infringing products on various

retail websites and third-party retail websites.

       7.      Through a pre-filing investigation, Hayward and I discovered that Ningbo C.F.

Electronic Tech Co., Ltd and Ningbo Yishang Import and Export Co are located at the same

address and appear to be controlled by the same person. Specifically, Ningbo manufacturers the

infringing products (known as “salt cells”) and advertises and sells them through various websites.

Ningo also supplies the salt cells to Blueworks in North Carolina.




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       8.      Ningbo        operates        retail   websites      at      www.techflife.com,

https://tecflife.en.ecplaza.net/, and advertise and sell its products through its storefront on

Alibaba.com at https://techflife.en.alibaba.com/.

       9.       On Ningbo’s www.techflife.com retail website, at the bottom of the main page

and the “Contact” page, Ningbo lists its contact email as richard@techflife.com. An annotated

printout of the webpage is shown below:




https://www.techflife.com/ A true and accurate copy of the website is attached as Exhibit C.

       10.      Richard Chen is also the CEO of Defendant Blueworks Corporation. His email

address is also listed on the Carolina Chinese Chamber of Commerce website. A true and accurate

screenshot of the website is listed below:



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https://www.carolinaschinesechamber.com/en/member-directory/name/blueworks-corporation/.

       11.    As seen above, Mr. Chen’s email for Blueworks is the same email listed as the

contact information for Ningbo—namely, richard@techflife.com.

       12.    Moreover, on its www.Alibaba.com webpage under “Contacts,” Ningbo lists

Richen Chen as the contact and has a link under “Contact Supplier” that allows a message to be

sent to them along with attachments and, on information and belief, would be able to accept a

summons and the complaint in this matter. An annotated screen screenshot is shown below:




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https://techflife.en.alibaba.com/

A true and accurate copy of the website is attached as Exhibit D.

       13.     Upon clicking on the link for “Contact Supplier,” a user is brought to an interactive

messaging system to contact the supplier, in this case, Richard Chen. A true and accurate

screenshot is below:




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https://message.alibaba.com/msgsend/contact.htm?spm=a2700.icbuShop.coea183788.3.490c5ff3
BH6UAb&action=contact_action&domain=2&id=200214273&id_f=IDX1YJdd0k9EtlR_KyYe
Kj2_R5bAuTSl5oGAkOpGgBOLSQqwM3lFN6F8S5d_DFg4Lumz&mloca=&umidToken=Bb8
bdfaec07317c7946bb9c27ad332dff

         14.   As seen above, the messaging system is in English, and Ningbo provides consumers

a means to communicate with Ningbo directly. The recipient of the message is Richard Chen, and

a person can provide a message and include attachments to their message.

         15.   Based on the above screenshots, the interactive messaging system on the Alibaba

website would be able to accept a summons and complaint in this action and Hayward would be

able to transmit the documents in the advertised method of communication.

         16.   Ningbo also provides on the Alibaba.com website the email info@techflife.com as

an alternate email address to contact Ningbo directly if a user chooses to email Richard and Ningbo

from personal email account. A true and accurate screenshot of the Alibaba.com website is shown

below:



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https://techflife.en.alibaba.com/

       17.     Moreover, as further detailed in the accompanying declaration of Tiberius Dinu,

Hayward hired private investigators in China to collect information on the relationship between

Ningbo and Blueworks and on the infringing salt cells. Up until December 18, 2020, when

Hayward filed the complaint in this action, Ningbo was not suspicious of any of Hayward’s

investigators or their purchase of sample infringing products. Only after December 18 did Ningbo

start asking questions and later called the Chinese police when the investigators went to pick-up

the purchased sample. That would suggest to me that Blueworks tipped off Ningbo about the

complaint.

       18.     Attached as Exhibit E is a true and accurate copy of an order by United States

District Judge Darrin P. Gayles granting alternative service by email and via Defendants



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interactive storefront of Alibaba’s messaging system on a Chinese defendant in the case: Theragun,

Inc. v. Golovan Ltd, et al., CA. No. 1:20-cv-22327-DPG (S.D. Fla. September 16, 2020).

         19.    Attached as Exhibit F is a true and accurate copy of an order by United States

District Judge Rodolfo A. Ruiz II, granting alternative service by email on foreign Chinese

defendants and by posting on a designated website in the matter: Chanel, Inc., v Chanelbags.ru, et

al., CA No. 0:20-cv-62335-RAR (S.D. Fla. November 18, 2020).

         20.    Attached as Exhibit G is a true and accurate copy of an order by United States

District Judge David C. Godbey granting alternative service by email on Chinese defendant in the

case: Agilent Technologies Inc., v. J&X Technologies Co., Ltd., CA No. 3:19-cv-02156-N, (N.D.

Tex. September 23, 2020).

         21.    Attached as Exhibit H, is a true and accurate copy of an order by United States

District Judge Raag Singhal, granting alternative service on a foreign defendant and allowing for

service via email and by posting on defendant’s website in the matter: Chanel Inc., v.

ReplicasChanel.com, et al, CA. No. 0:20-cv-62625, (S.D. Fla. December 24, 2020).

         22.    Attached as Exhibit I, is a true and accurate copy of an order by United States

District Judge William Q. Hayes, granting alternative service on Chinese defendants via e-mail

and through the online contact forms found on defendants’ website in the matter: TV Ears, Inc., v.

Joyshiya Development Limited, et al., CA. No. 3:20-cv-01708-WQH-BGS, (S.D. Cal. January 19,

2021).

         I declare under penalty of perjury that the foregoing is true and correct. Executed on
         January 21, 2021.

                                             /s/ Erik Paul Belt
                                             Erik Paul Belt, Esq.




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